Case 1:16-cv-02155-WJM-MLC Document 169 Filed 04/16/18 USDC Colorado Page 1 of 3




1
     LAW OFFICE OF JASON FLORES-WILLIAMS
2    JASON FLORES-WILLIAMS
3    Attorney for Plaintiffs
     1851 Bassett St.
4    #509
     Denver, CO 80202
5    303-514-4524
6    JFW@JFWLAW.NET
7
                                       UNITED STATES DISTRICT COURT
8                                      IN THE DISTRICT OF COLORADO
9
     RAYMOND LYALL, ON BEHALF OF                                 Case No.: 16-2155 WJM-CBS
10   HIMSELF AND ALL OTHERS SIMILARLY
11   SITUATED, ET AL;
                                                                 CLASS ACTION
12                     Plaintiffs,
13   vs.
                                                                 UNOPPOSED MOTION TO CONTINUE
14
     CITY OF DENVER, A MUNICIPAL
15   CORPORATION,                                                ORDER REGARDING ADMISSION OF

16                     Defendants                                CLASS MEMBERS WITHOUT
17                                                               IDENTIFICATION
18
19
                                                                 DEMAND FOR JURY TRIAL
20
21
22   Plaintiff class members are homeless. Many do not possess identification. Yet, their rightful
23
     desire to be present for litigation concerning their fundamental rights are commensurate with, if
24
25   not more profound than, any other citizens.1
26
27
28
29
30
31
     1
32    Plaintiff class members have diligently and respectfully filled the courthouse for every hearing from the inception
     of this litigation.

     CLASS ACTION- 1
Case 1:16-cv-02155-WJM-MLC Document 169 Filed 04/16/18 USDC Colorado Page 2 of 3




1    In Order 39—attached as Ex. “A”—this Honorable Court instituted a procedure by which
2
     Plaintiff counsel would vet Plaintiff class members who lacked identification as they entered the
3
4    courthouse. The procedure has proven successful without any issues affecting court maintenance
5
     and order. Plaintiffs, with the kind agreement of opposing counsel, respectfully request that
6
7
     Order 39 (Ex. “A”) be continued and applied to the final pretrial conference set: 3 p.m., May 2,

8    2018.
9
10
11   Respectfully submitted this 16th day of April 2017.
12
     /s/Jason Flores-Williams, Esq.
13   Phone: 303-514-4524
14   Email: Jfw@jfwlaw.net
     1851 Bassett St.
15   #509
16   Denver, Colorado 80202
17
18   Killmer, Lane & Newman, LLP
19
     /s/ Andy McNulty
20
21   /s/David Lane
22
     1543 Champa Street, Suite 400
23   Denver, Colorado 80202
     (303) 571-1000
24
     dlane@kln-law.com
25   amcnulty@kln-law.com
26
     Attorneys for Plaintiff Class
27
28
                                      CERTIFICATE OF SERVICE
29
30   I hereby certify that the above-referenced pleading was filed with exhibits and required notice
31
     electronically via CMECF system in the United States Dist. Ct of Colorado on April 16,
32


     CLASS ACTION- 2
Case 1:16-cv-02155-WJM-MLC Document 169 Filed 04/16/18 USDC Colorado Page 3 of 3




1    2016, causing this unopposed motion to be served on all parties of record.
2
3
4    /s/Jason Flores-Williams, Esq.
     Phone: 303-514-4524
5
     Email: Jfw@jfwlaw.net
6    1851 Bassett St.
7
     #509
     Denver, Colorado 80202
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32


     CLASS ACTION- 3
